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     UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
     ___________________________________

     UNITED STATES OF AMERICA,

                 vs.                                                                     5:03-CR-243-005

     RASUE BARNETT,
                             Defendant.
     ______________________________________
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     Hon. Norman A. Mordue, Chief U.S. District Judge

                                    MEMORANDUM DECISION AND ORDER

                 On June 19, 2008, the Second Circuit remanded this case pursuant to United States v.

     Crosby, 397 F.3d 103 (2d Cir. 2005), and United States v. Regalado, 518 F.3d 143 (2d Cir. 2008).

     The Second Circuit’s remand in this case does not direct this Court to vacate the sentence
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     imposed on Rasue Barnett and resentence him, but rather affords this Court the opportunity to

     consider whether the sentence imposed on him would be modified after considering the Regalado

     and Crosby decisions, both of which were issued after sentencing in this criminal matter.1

                 On June 19, 2003, defendant-appellant Rasue Barnett was charged by a grand jury for the

     Northern District of New York in a single count indictment with violation of 18 U.S.C. § 1962(d)
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     and 21 U.S.C § 846. See Indictment (Dkt. No. 1). Rasue Barnett pled guilty to this charge on

     February 20, 2004. See Plea Minute Entry (Dkt. No. 251). At Rasue Barnett’s December 2,

     2004 sentencing, this Court adopted the factual findings and recommendations of the Probation

     Department as stated in its Presentence Investigation Report concerning application of the United

     States Sentencing Guidelines to Rasue Barnett, which found that his criminal history category

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                       The Second Circuit has noted that if, after considering all the factors listed in 18 U.S.C. § 3553(a)
    and treating the United States Sentencing Guidelines as advisory, this Court finds that it would have imposed a
    materially different sentence on Barnett, resentencing of him is required. Crosby, 397 F.3d at 120.
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    was VI and his total offense level was 31, thereby providing a Sentencing Guidelines range of one

    hundred eighty-eight to two hundred twenty-five months imprisonment. See Sentencing Minute

    Entry (Dkt. No. 503). The Court departed one criminal history category and sentenced defendant

    at the bottom of criminal history category V and a resulting range of one hundred sixty-eight to

    two hundred ten months. The Court then sentenced Rasue Barnett to a term of 168 months,

    followed by four years of supervised release. See Judgment (Dkt. No. 515)

           This Court has reviewed the original judgment, the plea agreement, and the original
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    Presentence Investigation Report. In addition, the Court has reviewed both Regalado and Crosby,

    and has considered all the sentencing factors listed in 18 U.S.C. § 3553(a), with the understanding

    that the United States Sentencing Guidelines are now advisory and that the Court has discretion to

    deviate from the crack Guidelines range “to mitigate the sentencing range produced by the 100-

    to-1 ratio.” Regalado, 518 F.3d at 149. After considering the foregoing, the Court has
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    determined that the sentence of 168 months imprisonment followed by four years of supervised

    release is a reasonable one in this case. The Court therefore declines to modify or change the

    original sentence imposed on Rasue Barnett, notwithstanding Regalado and Crosby.

           Therefore, the Court affirmatively states that the sentence imposed on Rasue Barnett in

    this case on December 2, 2004, would still be imposed on him even after considering the
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    principles enunciated in Regalado and Crosby.

           Accordingly it is hereby

           ORDERED that resentencing of Rasue Barnett in light of Regalado and Crosby is

    DENIED; and it is further

           ORDERED that the Clerk of the Court shall serve copies of this order by regular or


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    electronic mail on the parties to this action.

           IT IS SO ORDERED.

           DATED: July 29, 2008
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